         Case 1:20-cr-00330-AJN Document 129 Filed 02/01/21 Page 1 of 2
                                          U.S. Department of Justice

                                                     United States Attorney
                                                     Southern District of New York
                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007

                                                     February 1, 2021

BY ECF

The Honorable Alison J. Nathan
United States District Court
Southern District of New York
United States Courthouse
40 Foley Square
New York, New York 10007

       Re:     United States v. Ghislaine Maxwell, 20 Cr. 330 (AJN)

Dear Judge Nathan:

        The Government respectfully submits this letter in response to the Court’s January 25, 2021
order allowing the parties to respond to a letter from legal counsel at the Metropolitan Detention
Center (“MDC”) also dated January 25, 2021. (Dkt. No. 117). In particular, MDC legal counsel
asks the Court to vacate its January 15, 2021 order directing the MDC to permit the defendant to
use a laptop to review discovery on weekends and holidays. While the Government has no
objection to the defendant’s request for additional laptop access, the Government also generally
defers to the MDC regarding how it manages its inmate population. The Government will continue
to defer to the MDC here, particularly because the defendant has had ample access to discovery
even without laptop access on weekends and holidays.

       Given the volume of discovery in this case, which totals more than two million pages, the
Government and the MDC have both made significant efforts to ensure that the defendant has
extensive access to her discovery materials. Since the Government made its first discovery
production in August 2020, the defendant has had exclusive access to a BOP desktop computer in
the MDC on which to review her discovery. When the defendant complained of technical issues
reviewing portions of her discovery on that desktop computer, the Government produced
reformatted copies of discovery materials and instructions regarding how to open particular files.
Because the defendant continued to complain that she was unable to review certain discovery files
on the desktop computer, the Government agreed to provide a laptop for the defendant to use in
her review of discovery. On November 18, 2020, the Government hand delivered the laptop to
the MDC for the defendant’s exclusive use.

       As the Court is aware, the defendant has received, and continues to receive more time to
review her discovery than any other inmate at the MDC. In particular, the MDC permits the
defendant to review discovery thirteen hours per day, seven days per week. On weekdays, the
MDC permits the defendant to use the laptop during her thirteen hours of daily review time. On
weekends and holidays, the MDC would ordinarily only allow the defendant to use the BOP
desktop computer, which provides access to much of the discovery material. While, as noted
above, the Government has no particular objection to the defendant’s request for weekend access
          Case 1:20-cr-00330-AJN Document 129 Filed 02/01/21 Page 2 of 2

 Page 2



to the laptop, the Government generally defers to the judgment of the MDC in managing inmates
at its facility, and sees no reason to depart from that practice here. In this respect, the Government
notes that the trial date remains approximately six months away, the BOP was already affording
the defendant access to the laptop for some 65 hours a week, and the BOP was further providing
weekend access to a desktop computer should the defendant wish to spend more than 65 hours
each week reviewing discovery.

                                                     Respectfully submitted,

                                                     AUDREY STRAUSS
                                                     United States Attorney


                                               By:       s/
                                                     Maurene Comey / Alison Moe / Lara Pomerantz
                                                     Assistant United States Attorneys
                                                     Southern District of New York
                                                     Tel: (212) 637-2324

Cc: All Counsel of Record (By ECF)
